393 F.2d 91
    YAMETA CO., Ltd. and Jimi Hendrix also known as Jimmy Hendrix, Plaintiffs-Appellees-Appellants,v.CAPITOL RECORDS, INC. and PPX Enterprises, Inc., Defendants-Appellants-Appellees, andEdward Chalpin and Curtis Knight, Defendants.
    No. 479.
    Docket 32203.
    United States Court of Appeals Second Circuit.
    Argued April 5, 1968.
    Decided April 15, 1968.
    
      Solomon Granett, New York City (Halperin, Morris, Granett &amp; Cowan, New York City, of counsel), for defendant-appellant-appellee Capitol Records, Inc.
      Elliot Hoffman, New York City (Beldock, Levine &amp; Hoffman, New York City, of counsel), for defendant-appellant-appellee PPX Enterprises, Inc.
      Henry W. Steingarten, New York City (Steingarten, Wedeen &amp; Weiss, New York City, of counsel), for plaintiffs-appellees-appellants Yameta Co., Ltd. and Jimi Hendrix.
      Before MOORE, WOODBURY* and SMITH, Circuit Judges.
      PER CURIAM:
    
    
      1
      Defendants Capitol Records, Inc. and PPX Enterprises, Inc., appeal from an order made and entered on February 14, 1968, as modified by a memorandum dated February 19, 1968, granting to plaintiffs a preliminary injunction and plaintiffs cross-appeal from so much of said order, as modified, as denied relief requested under the First, Second and Third causes of action in plaintiffs' complaint.
    
    
      2
      Upon the law and the facts order reversed and preliminary injunction vacated, bond to remain in full force and effect. However, it appearing to the court that exceptional and meritorious reasons exist which require a trial as soon as possible of the issues here presented for an equitable disposition thereof, it is ordered that the case be referred to the Chief Judge of the United States District Court for the Southern District of New York for such preference as he may see fit. See Calendar Rule 10(e) of the Calendar Rules for the Southern District of New York. Pending such disposition as may be made of this case, the parties are directed to keep, maintain and preserve such statistical information as may be necessary to accurately reflect the sales of the records in issue.
    
    
      
        Notes:
      
      
        *
         Of the First Circuit, sitting by designation
      
    
    